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    8   INC., and SCOOBUR, LLC
    9
                                   UNITED STATES BANKRUPTCY COURT
  10
                                    CENTRAL DISTRICT OF CALIFORNIA
  11
                                               LOS ANGELES DIVISION
  12
                                                                     Case No. 2:19-bk-14989-WB
  13        In re:                                                   Jointly Administered:
                                                                     2:19-bk-14991-WB; 2:19-bk-14997-WB
  14        SCOOBEEZ, et al.1
                                                                     Chapter 11
  15                   Debtors and Debtors in Possession.

  16        Affects:                                                 DEBTORS’ OPPOSITION TO AMAZON
  17                                                                 LOGISTICS, INC.’S NOTICE OF MOTION
            ■ All Debtors                                            AND MOTION FOR AN ORDER: (A)
  18                                                                 DETERMINING THAT THE AUTOMATIC
            □ Scoobeez, ONLY                                         STAY DOES NOT REQUIRE AMAZON TO
  19                                                                 UTILIZE DEBTOR’S SERVICES, AND (B)
            □ Scoobeez Global, Inc., ONLY                            MODIFYING THE AUTOMATIC STAY
  20        □ Scoobur LLC, ONLY
  21
                                                                     Hearing:
  22                                                                 Date: November 18, 2019
                                                                     Time: 10:00 a.m.
  23                                                                 Place: Courtroom 1375
                                                                            U.S. Bankruptcy Court
  24                                                                        255 East Temple Street
                                                                            Los Angeles, CA 90012
  25

  26

  27
        1
         The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows: Scoobeez
  28
        (6339); Scoobeez Global, Inc. (9779); and Scoobur, LLC (0343). The Debtors’ address is 3463 Foothill Boulevard, Glendale,
        California 91214.


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    1              Scoobeez, Scoobeez Global, Inc., and Scoobur, LLC, the debtors and debtors in possession
    2   (collectively “Debtors” or “Scoobeez”) in the above-captioned chapter 11 bankruptcy cases (collectively
    3   the “Chapter 11 Cases”) hereby file their opposition to AMAZON LOGISTICS, INC.’S NOTICE OF
    4   MOTION AND MOTION FOR AN ORDER: (A) DETERMINING THAT THE AUTOMATIC STAY
    5   DOES NOT REQUIRE AMAZON TO UTILIZE DEBTOR’S SERVICES, AND (B) MODIFYING
    6   THE AUTOMATIC STAY [Docket No. 393], filed on October 28, 2019 (the “Stay Relief Motion”).
    7                                              I. INTRODUCTION
    8              By and through the Motion, Amazon unabashedly seeks the blessing of this Court to single-
    9   handedly destroy any chance the Debtors have at successfully exiting from the Chapter 11 Cases -
  10    whether through a reorganization or an orderly sale of the Debtors’ assets – despite the fact that the
  11    Debtors have received increasingly exemplary scores from Amazon since the Chapter 11 Cases were
  12    commenced. Perhaps even more astonishing, however, is the brazen manner in which Amazon
  13    essentially admits that they are now seeking this relief – nearly six (6) months after the Chapter 11 Cases
  14    were commenced – based primarily on two things: (1) the Debtors’ purported inability/unwillingness to
  15    satisfy pre-petition indemnification obligations in favor of Amazon (an unequivocal violation of the
  16    automatic stay); and (2) Amazon’s desire to complete the transition of the Debtors’ employees to other
  17    DSP providers (presumably with which they (will) enjoy a greater profit margin and over which they
  18    (will) exert significantly more operational and financial control) (which is tantamount to obliterating the
  19    Debtors’ operational capabilities). In addition, and as if the relief sought by and through the Motion
  20    were not sufficiently offensive to core of the bankruptcy process, Amazon has the audacity to ask that
  21    this Court enter a “comfort order” that will authorize Amazon to reduce (precipitously or otherwise) the
  22    routes it assigns to the Debtors in such a way that functional termination will be effectuated before year
  23    end if Amazon so chooses. The effect of such an order and/or such an act would be catastrophic – not
  24    only to the Debtors’ chance of rehabilitation, but to the nearly one thousand people employed by the
  25    Debtors who will likely have to be laid off before the holiday season.
  26               Amazon has fallen woefully short of demonstrating “cause” sufficient to justify such drastic
  27    relief (particularly at this juncture of the Chapter 11 Cases) and thus the relief sought by and through the
  28    Stay Relief Motion must be denied.

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    1                                                     II. FACTS
    2              A.     Background of the Debtors
    3              The Debtors are a logistics and delivery company that provides logistics and delivery services to
    4   Amazon, with operations in Southern California, Illinois and Texas. The Debtors provide “last-mile”
    5   delivery solutions, delivering goods by vehicle from merchant distribution points to consumers. These
    6   delivery solutions include same-day, next day, and two-day delivery to Amazon customers. The
    7   Debtors employ approximately 1000 employees, with a seasonal increase during the holidays.
    8              On April 30, 2019 (the “Petition Date”), the Debtors each filed a petition for relief under Chapter
    9   11 of the Bankruptcy Code, commencing the Chapter 11 Cases. The Debtors continue in possession of
  10    their property and operate their businesses as a debtors-in-possession pursuant to Sections 1107(a) and
  11    1108 of the Bankruptcy Code. On May 13, 2019, the Court entered an order approving the joint
  12    administration of the Debtors’ cases [Docket. No. 44]. On May 20, 2019, the Office of the United States
  13    Trustee appointed an Official Committee of Unsecured Creditors (the “Committee”) in the Chapter 11
  14    Cases.
  15               On June 12, 2019, the Court entered an order appointing Brian Weiss of Force 10 Partners LLC
  16    as the Debtors’ Chief Restructuring Officer (the “CRO”), after a restructuring of the Scoobeez Global,
  17    Inc. board of directors. The Debtors evaluated and implemented strategies aimed towards preserving
  18    and strengthening the Debtors’ operations. The Debtors’ business is producing positive cash flow.
  19    Having stabilized their business, the Debtors embarked on a process to secure a value-maximizing path
  20    for the Debtors’ business to exit these Chapter 11 Cases.
  21               The Debtors determined, in conjunction with their professionals and in consultation with the
  22    Committee, that pursuing a sale or reorganization under chapter 11 of the Bankruptcy Code provided the
  23    best option for the Debtors, their customer base, and their creditor constituents. In connection with this,
  24    the Debtors employed Armory Securities, LLC (“Armory”) as their investment banker, to market the
  25    Debtors’ business for a sale or recapitalization.
  26               In order to maximize the value of their business and advance the resolution of the Chapter 11
  27    Cases, the Debtors decided, in their business judgment, after extensive negotiations amongst the
  28    Debtors, Hillair and the Committee, to pursue a process pursuant to section 363 of the Bankruptcy Code

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    1   for the sale (the “Sale”) of substantially all of the Debtors’ assets to Hillair as a stalking horse purchaser
    2   subject to higher and better offers, while preserving a right to seek a recapitalization if revealed as a
    3   better alternative during the marketing process. The Committee supported the Sale.
    4              On August 29, 2019, the Debtors filed a motion for approval for sale and bidding procedures in
    5   connection with the Sale process [Docket No. 293] (the “Bid Procedures Order”). The Court approved
    6   the procedures by an ordered entered on September 17, 2019 [Docket No. 321]. On September 19,
    7   2019, the Debtors filed their motion for approval of the Sale (the “Sale Motion”).
    8              Pursuant to the Bid Procedures Order, the deadline for oppositions to the Sale, or to assumption
    9   and assignment of contracts in connection with the Sale, was October 1, 2019. The majority shareholder
  10    of the Debtors, Mr. Ohanessian (which opposition was “joined” by two minority shareholders of the
  11    Debtors), filed the only opposition to the Sale, and Amazon filed the only objection to the assumption
  12    and assignment of their contracts with the Debtors (collectively, the “Amazon Contracts”). Amazon
  13    Contract in connection with the Sale [Docket No. 349] (the “Assignment Objection”). The Debtors
  14    timely filed their reply to the Assignment Objection [Docket No. 366]. The hearing to approve the Sale
  15    Motion was originally set for October 17, 2019, but has been continued to November 18, 2019 at the
  16    same time as the hearing on the Stay Relief Motion. **
  17               B.     The Amazon Contract and Scoobeez History of Work with Amazon
  18               Amazon is the Debtors’ only customer, and the entirety of Debtors’ revenue derives from
  19    payments from Amazon for deliveries from Amazon distribution points to Amazon’s customers. The
  20    Amazon Contracts are comprised of the Delivery Provider Terms of Service (the “Terms of Service”),
  21    which provides the overarching terms of the contract, and the Delivery Provider Terms of Service Work
  22    Order (as amended, the “Work Order”), which provides specific locations and pricing terms. The Work
  23    Order has been updated by amendment eighteen times, to update pricing and distribution points. The
  24    Terms specify that they are “a legally binding agreement between the applicable Amazon Contracting
  25    Party or any of its Affiliates” and the Debtors. See Terms, p. 1.
  26               Pursuant to the Amazon Contracts, Amazon pays the Debtors based on weekly invoices, based
  27    on the rates in the current Work Order. See Terms, § 3.a, 4. Amazon generally pays all undisputed
  28

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    1   amounts within thirty (30) days of receipt of the invoice. Any substantial change in volume or work
    2   would therefore have a rapid and direct impact on revenue.
    3              As described above, the Work Order provides the distribution points from which the Debtors
    4   pick up packages. On a weekly basis, Amazon assigns a specified number of routes (“Routes”) to the
    5   Debtors. Payments under the Amazon Contracts are based on the Routes served, with specific pricing
    6   per Route as provided in the Work Order.
    7              Amazon had provided a reliable work flow to Scoobeez over the years. Although there was some
    8   seasonal variability (which the Scoobeez model is designed to accommodate), Scoobeez has relied on a
    9   consistent and substantial number of Routes, and has employed (and still does employ) more than 1,000
  10    employees based on those Routes. Until about two (2) months ago, Amazon had consistently provided
  11    Scoobeez with an annual volume of Routes that had increased over time. A chart showing year-over-
  12    year total Routes received under the Amazon Contracts for the eight-week period ending October 19,
  13    2019, and a comparison of the four months from June through October 2018 and 2019 was appended to
  14    the Declaration of George Voskanian in Support of the Debtors’ Motion For Preliminary Injunction to
  15    Prevent Violation of The Automatic Stay [Adv. ECF No. 2] 2 (the “Voskanian Declaration”) 3, and is
  16    hereby incorporated by reference. A chart of month by month routes for 2018 through 2019 is attached
  17    as Exhibit A to the Declaration of George Voskanian in support of the Debtors’ Supplement Pleading in
  18    Support of the Debtors’ Motion for Preliminary Injunction to Prevent Violation of the Automatic Stay
  19    [Adv. ECF No. 21] (the “Supplemental Voskanian Declaration”). This shows that overall Routes have
  20    been higher in 2019, whereas 2017 and 2018 showed the expected seasonal increase in Routes entering
  21    the fall, Routes have taken a sharp downturn in just the past two months. Moreover, since announcing its
  22    unequivocal and non-negotiable intention to terminate the Amazon Contracts, Amazon has begun to
  23    reduce the number of Routes assigned to the Debtors under the Amazon Contracts.
  24

  25

  26

  27    2
          All references to the Adv. ECF shall be to the docket in the related adversary proceeding bearing case number 2:19-ap-
        01456-WB (the “Amazon Adversary Proceeding”).
  28    3
          Pursuant to Federal Rule of Evidence (“FRE”) 201, the Debtors respectfully request that the Court take judicial notice of the
        Voskanian Declaration.
                                                  DEBTORS’ OPPOSITION TO AMAZON MOTION FOR RELIEF FROM STAY
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    1              C.     Amazon’s Decision to Terminate and Timeline for Violation of the Stay
    2              Prior to the Debtors filing of the Sale Motion, Amazon had not expressed any intention to cease
    3   or reduce business with the Debtors. Rather, Amazon knowingly allowed the Debtors to proceed with a
    4   sale process that was based, at least in part, on an expectation of ongoing business with Amazon.
    5   Amazon finally raised an objection only when faced with a deadline to object to assumption of the
    6   Amazon Contracts; however, even in the Assignment Objection, Amazon did not indicate or
    7   acknowledge that it was categorically unwilling to do business with the Debtors on a moving forward
    8   basis irrespective of the exit strategy the Debtors elected to pursue.
    9              Since the filing of the Assignment Objection, however, Amazon has made it clear that it intends
  10    to terminate its relationship with the Debtors, irrespective of which path the Debtors choose to take (i.e.
  11    a sale or a rehabilitation). This has been communicated both in conference calls in which Amazon, the
  12    Debtors, Hillair, and the Committee have participated, and in writing. On October 7, 2019,
  13    representatives of the Debtors and Hillair participated in a telephone call with Amazon’s representatives
  14    (the “Amazon Call”). During the Amazon Call, Amazon’s representatives clearly and expressly stated
  15    that they did not intend to do business with the Debtors beyond a brief transition period, and would
  16    begin reducing the Routes assigned to the Debtors. Amazon’s representative also expressly stated that
  17    Amazon would not consent to do business with Hillair or any other potential purchaser of the Debtors’
  18    assets, unless limited to a potential brief transition period.
  19               During the Amazon Call, Amazon also made it clear that its decision to sever ties with the
  20    Debtors was tied to what it viewed as pre-petition defaults by the Debtors. More specifically, Amazon’s
  21    representative stated that Amazon felt that the Debtors had not adequately fulfilled their duties to defend
  22    and indemnify Amazon from third party claims – claims which arose prior to the Petition Date.
  23    Although the Debtors substantively dispute the veracity of this assertion (as discussed in their Reply to
  24    Amazon Objection), it is worth reiterating that Amazon expressly stated that one of its primary reasons
  25    (if not the primary reason) for terminating its relationship with the Debtors was its belief that the
  26    Debtors had defaulted pre-petition on indemnity obligations under the Amazon Contracts.
  27               On October 16, 2019, counsel for Amazon sent an email to counsel for Hillair, on which
  28    Debtors’ counsel was copied, expressly setting forth Amazon’s position. A true and correct copy of this

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    1   email was appended to the Declaration of Ashley McDow in Support of the Debtors’ Motion For
    2   Preliminary Injunction to Prevent Violation of The Automatic Stay [Adv. ECF No. 2] (the “McDow
    3   Declaration”)4 as Exhibit C, and is hereby incorporated by reference. Among other things, the email
    4   stated that: “Amazon will not continue to do business with Scoobeez, Hillair or a Hillair “Newco” for
    5   anything other than a transition period ending on January 6, 2020.” The email went on to stay a timeline
    6   on which Amazon intended to communicate its decision to drivers, and then terminate the Amazon
    7   Contract. While the email suggested a separate agreement, with a modest separation payment by
    8   Amazon, it specifically stated that Amazon would proceed on the same timeline regardless of any
    9   agreement with the Debtors or Hillair. Amazon also expressly stated that it would begin reducing Routes
  10    if a sale is approved, and did not provide any assurance that it would not otherwise reduce Routes under
  11    any circumstance.
  12               Further, and even more alarmingly, Amazon has expressly stated that it intends to poach the
  13    Debtors’ employees. The bullet points in the October 16 email outlining Amazon’s plan indicates that
  14    Amazon starting on October 25, 2019, Amazon personal will “provide drivers with information on how
  15    they can contact other Delivery Service Partners if they are interested in applying for employment with
  16    other companies. McDow Declaration, Ex C. While this is set forth a part of Amazon’s proposal for a
  17    separation agreement, Amazon is clear that this is its plan with or without the Debtors’ agreement:
  18                       Assuming that the sale is approved on Oct. 17 and that the transaction
                           closes within a few days thereafter, Amazon will still operate on the
  19                       same timeline as laid out above in the 3rd bullet point regarding
                           communication to drivers, hopefully with the buyer’s cooperation to
  20                       ensure consistent, timely communication to drivers at all stations. If
                           Amazon does not have the buyer’s cooperation, Amazon is still
  21                       prepared to move forward on the same timeline as laid out above.
  22    McDow Declaration, Ex. C (emphasis added). Amazon could not be more explicit about its intent to
  23    contact the Debtors’ employees in order to recruit them to competitors, with or without the Debtors
  24    consent.
  25               Amazon’s decision cannot be characterized as the result of any concerns with performance. The
  26    Debtors receive weekly performance scorecards from Amazon, which have remained very good
  27    throughout 2019, with no decrease in performance during the Chapter 11 Cases. In fact, the most recent
  28
        4
            Pursuant to FRE 201, the Debtors respectfully request that the Court take judicial notice of the McDow Declaration.
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    1   scorecards extremely high marks across the board. True and correct copies of these most recent
    2   scorecards were appended to the Declaration of Scott Sheikh in Support of the Debtors’ Motion For
    3   Preliminary Injunction to Prevent Violation of The Automatic Stay [Adv. ECF No. 2] (the “Sheikh
    4   Declaration”)5 as Exhibit B, and are hereby incorporated by reference. Further, on the October 7
    5   telephone call Amazon’s representatives specifically stated that Amazon’s decision to terminate the
    6   Amazon Contracts was not based on any issues with the Debtors’ performance.
    7

    8                                                     III. ARGUMENT
        A.         This Court Should Not Indulge Amazon With An Impermissible Advisory Opinion
    9
                   Regarding The Scope Of The Automatic Stay
  10               By and through the Stay Relief Motion, Amazon requests that this Court enter an order finding
  11    “that the automatic stay does not compel Amazon to provide the debtor …with any particular volume of
  12    business.” Motion, page 3, lines 6-7. However, the provision of such an advisory opinion in the instant
  13    contested matter given the pendency of the related adversary proceeding in which this precise question
  14    is at issue is wholly improper. “[T]he oldest and most consistent thread in the federal law of
  15    justiciability is that federal courts will not give advisory opinions…While there are many examples of
  16    advisory opinions, one type adverted to corresponds with the order before us, namely, where the
  17    “dispute” has not been properly framed and requires further proceedings…[S]uch advance expressions
  18    of legal judgment upon issues which remain unfocused because they are not pressed…with that clear
  19    concreteness provided when a question emerges precisely framed and necessary for decision…we have
  20    consistently refused to give.” In re Family Health Services, Inc., 130 B.R. 314, 317 (9th Cir. 1991)
  21    (internal citations omitted).
  22               In In re Family Health Services, the Ninth Circuit vacated the order of the trial court “clarifying”
  23    the extent “of the automatic stay [as it] did not resolve the dispute in an adversary context but rather
  24    constituted a ruling on a hypothetical or non-justiciable controversy.” Id. In doing so, the Court opined
  25    that “[i]t is questionable that anything is added to the force of 11 U.S.C. 362 by advance comment on the
  26    scope of the automatic stay in the form of a ‘clarification,’ particularly where such order is not issued in
  27

  28
        5
            Pursuant to FRE 201, the Debtors respectfully request that the Court take judicial notice of the Sheikh Declaration.
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    1   response to particular conduct by specific parties.” Id. For precisely the same reasons, the same result
    2   must inure in the instant case. To the extent that Amazon seeks to have this Court adjudicate the nature,
    3   scope and/or applicability of the automatic stay as it pertains to the Amazon Contracts, it must do so by
    4   and through the Amazon Adversary Proceeding.
    5
        B.         The Broad And Fundamental Protections of The Automatic Stay Prohibit The Actions
    6
                   Sought To Be Taken By Amazon By And Through The Stay Relief Motion
    7
                   1.     The Amazon Contracts, And The Debtors’ Interest In And Rights Thereunder, are
    8                     Critically Important Property of the Debtors’ Estates Protected by the Automatic
                          Stay
    9
                   Property of the estate includes “all legal and equitable interests of the debtor in property as of the
  10
        commencement of the case.” 11 U.S.C. §541(a)(1). The legislative history of section 541 illustrates
  11
        that Congress intended that the scope of “property of the estate” is very broad and “[i]t includes all kinds
  12
        of property, including tangible or intangible property . . . .” See In re Computer Communications, Inc.,
  13
        824 F.2d 725, 729 (9th Cir. 1987). It is well established in the Ninth Circuit that a debtor’s contract
  14
        rights are property of the estate under section 541.
  15
                   By means of the automatic stay in Section 362(a) of the Bankruptcy Code, “Congress intended to
  16
        give debtors a ‘breathing spell’ from their creditors and to stop ‘all collection efforts, all harassment, and
  17
        all foreclosure actions.’” Delpit v. Commissioner Internal Revenue Service, 18 F.3d 768, 771 (9th Cir.
  18
        1994), quoting H.R.Rep. No. 95–595, at 340 (1978), reprinted in 1978 U.S.C.C.A.N. 5787, at 6296–97.
  19
        The “breathing spell” afforded by the automatic say permits a chapter 11 debtor to focus its efforts on
  20
        reorganization. See Plumberex Specialty Products, Inc., 311 B.R. 551, 556 ((Bankr. C.D. Cal. 2004)
  21
        (emphasis added). The automatic stay also promotes the goal of equality of distribution by preventing
  22
        piecemeal dismemberment of the bankruptcy estate while assuring that the debtor in possession has an
  23
        opportunity to use property necessary for an effective reorganization. Id.; see also Hollis Motors, Inc. v.
  24
        Hawaii Auto Dealers’ Association, 997 F.2d 581, 586 (1993) (a principal purpose of the automatic stay
  25
        is to preserve property for use in the reorganization of the debtor and prevent the dismemberment of the
  26
        estate), see also 3 Collier on Bankruptcy ¶ 362.03, at 362–23 (Alan N. Resnick & Henry J. Sommers
  27
        eds., 16th ed. rev. 2019. In furtherance of these essential goals of the bankruptcy process, “Congress
  28
        intended the scope of § 362(a) to be broad, staying nearly every type of formal or informal action
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    1   against the debtor or property of the estate.” Plumberex, 311 B.R. at 556.
    2              Despite this well-settled law, Amazon argues that it can effectively, if not literally, terminate its
    3   contract with the Debtors without violating the automatic stay. As argued in the Debtors’ motion for a
    4   preliminary injunction [Adv. ECF. No. 2], the automatic stay is clearly applicable here, and acts to bar
    5   Amazon’s unilateral actions to destroy, modify and control property of the estate.
    6              As Amazon grudgingly acknowledges, section 362(a)(3) prohibits “any act to obtain possession
    7   of property of the estate or of property form the estate, or to exercise control over property of the estate.”
    8   11 U.S.C. § 362(a)(3). Any attempt by Amazon to suggest that there is some question whether this
    9   applies is simply wrong. It is axiomatic that the automatic stay applies to a debtor’s interest in a
  10    contract. See In re Carroll, 903 F.2d 1266, 1271 (9th Cir. 1990) (an executory contract that is property
  11    of the estate can only be terminated after a grant of relief from stay). Unless an exception applies, the
  12    automatic stay prohibits any acts to terminate or modify an estate’s interests in a contract and therefore
  13    the Court should prevent Amazon from doing so. In re FirstEnergy Solutions Corp., 596 B.R. 631, 636
  14    (Bankr. N.D. Ohio 2019); see also In re National Environmental Waste Corp., 191 B.R. 832, 834
  15    (Bankr. C.D.Cal. 1996) (“since Ninth Circuit law holds that contract rights constitute property of the
  16    estate, the City’s unilateral termination of Newco’s contract is clearly an action exercising control over
  17    property of the estate”).
  18               2.     Amazon Cannot Circumvent The Automatic Stay By Functionally Terminating The
  19                      Amazon Contracts Through The Reduction And/Or Elimination Of Routes
                   Amazon argues that even if the automatic stay bars it from terminating the Amazon Contracts, it
  20
        can simply achieve the same result by no longer providing Routes to the Debtors. The Court cannot
  21
        allow Amazon to torture the provisions, intent and critical protections of section 362 by allowing such
  22
        behavior. The automatic stay is intended to be a broadly interpreted provision that provides a “breathing
  23
        spell” by preserving the status quo and “precluding and nullifying post-petition actions, judicial or
  24
        nonjudicial, in nonbankruptcy for a against the debtor or affecting property of the estate. Hillis Motors,
  25
        Inc. v. Hawaii Auto. Dealers' Ass'n, 997 F.2d 581, 585 (9th Cir. 1993). The preposterous proposition
  26
        advanced by Amazon – that even if the automatic stay prevents an express termination of the Amazon
  27
        Contracts, Amazon can simply achieve the same results by significantly reducing or eliminating the
  28
        Routes – turns this concept on its head and is clearly contrary to the principals and policy underlying
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    1   section 362.
    2              The sort of “functional termination” already undertaken in part by Amazon by reducing Routes
    3   for two months, causing substantial harm to the Debtors without any Court approval, and which Amazon
    4   now seeks this Court’s blessing to continue and expand to decrease the Debtors’ business to zero, in fact
    5   violates the stay. See, e.g., In re Ernie Haire Ford, Inc., 403 B.R. 750 (Bankr. M.D. Fla. 2009). The
    6   Ernie Haire Ford case is remarkably on point. In that case, the non-debtor party had a contractual right
    7   that gave them complete discretion to accept or reject customer auto loans submitted by the debtor car
    8   dealership. Id. at 754. The non-debtor contract counterparty argued that if it was barred by the
    9   automatic stay, it could simply use that discretion to refuse loan applications submitted under the
  10    contract, and the bankruptcy court found that any action that “effectively terminates” the agreement
  11    would be a violation of the automatic stay, regardless of whether it was a technical
  12    termination. Id. Therefore, the bankruptcy court entered an order compelling the non-debtor finance
  13    companies to apply the same standard they always did to continue business with the debtor rather than
  14    allow the finance companies to use the “at will” provision to refuse to continue to do business with the
  15    debtor. Id.
  16               This case is remarkably on point. The argument that the non-debtor contract counterparty made
  17    in Ernie Haire Ford is nearly identical to Amazon’s argument that it can simply cease doing business
  18    with the Debtors without technically terminating the Amazon Contracts. See In re Ernie Haire Ford,
  19    Inc., 403 B.R. at 760. As the bankruptcy court did in that case, this Court must find that Amazon cannot
  20    end-run the stay. This is consistent with the critical underlying purpose and intentions of Congress in
  21    respect of the automatic stay. If the automatic stay is to preserve anything resembling a status quo, then
  22    it certainly must prevent the Debtors’ only customer from unilaterally ending its contractual relationship
  23    with the Debtor, through whatever means. See Hillis Motors, 997 F.2d at 585 (purpose of the stay is to
  24    preserve the status quo).
  25               Moreover, based upon the explicit admissions made by Amazon, its effort to terminate the
  26    Amazon Contracts, and/or reduce and eliminate the Routes awarded thereunder, constitutes a stay
  27    violation that should not be countenanced by this Court. Amazon has made it clear that it wants to
  28    “transition” the Debtors’ employees to other DSP providers utilized Amazon, which is further indicative

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    1   of its scheme to advance its own economic interest at the expense of the proverbial little guy – in this
    2   case, the Debtors. Amazon cannot seek relief from the stay to cure or worse actually continue an effort
    3   that itself is a stay violation to destroy the Debtors’ business.
    4              3.     The Covenants Of Good Faith And Fair Dealing Under The Amazon Contracts Are
    5                     Also Entitled to Protection by The Automatic Stay
                   Amazon argues that it has no duty to act with good faith toward the Debtors. See Stay Relief
    6
        Motion, p. 5. This misstates Washington law, which is the applicable choice of law pursuant to the
    7
        Amazon Contracts. Quite to the contrary, there is a clear duty of good faith and fair dealing that applies
    8
        to the Amazon Contracts.
    9
                   In a 2016 decision, the Supreme Court of Washington, sitting en banc, expressly held that there
  10
        is a contractual duty of good faith and fair dealing under Washington law, and that it by definition
  11
        extends to circumstances where there is no breach of the express terms of the applicable contract. 6
  12
        Rekhter v. State Department of Social and Health Services, 180 Wash.2d 102 (Wash. 2016). The court
  13
        observed that “[u] under Washington law, ‘[t] here is in every contract an implied duty of good faith and
  14
        fair dealing’ that ‘obligates the parties to cooperate with each other so that each may obtain the full
  15
        benefit of performance.’” Id. at 112, quoting Badgett v. Sec. State Bank, 116 Wash.2d 563, 569 (Wash.
  16
        1991).
  17
                   The duty of good faith and fair dealing “arises when one party has discretionary authority to
  18
        determine a future contract term.” Rekhter, 180 Wash.2d at 112. The duty is to act with “good faith and
  19
        fair dealing in setting and performing that contractual term.” Id. at 115. The duty would apply,
  20
        therefore, when one party has discretion to determine quantity, price, or time elements. Id. at 113, citing
  21
        Amoco Oil Co. v. Ervin, 908 P.2d 493, 498 (Colo. 1995). In Rekhter, the state entered into provider
  22
        contracts with home health providers, which gave the state discretion over the number of hours that
  23
        would be required and compensated. Id. at 113. The Washington Supreme Court found that the
  24
        covenant of good faith and fair dealing applied to the exercise of discretion in setting hours, and that the
  25
        jury could property find that this duty was breached by the state’s arbitrary changes in work volume. Id.
  26

  27

  28    6
         To be clear, the Debtors are in no way conceding that Amazon’s actions or proposed actions do not breach the express terms
        of one or more of the Amazon Contracts.
                                                 DEBTORS’ OPPOSITION TO AMAZON MOTION FOR RELIEF FROM STAY
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    1   at 112-116.
    2              The Amazon Contracts give Amazon discretion regarding the number of Routes provided to the
    3   Debtors. The Amazon Contracts require that the Debtor(s) either service the Routes designated by
    4   Amazon, or pay a penalty for Routes they are unable to service. This practically requires the Debtors to
    5   maintain the ability to service a large number of Routes with the service areas and based on the
    6   distribution points that have been designated by Amazon. The course of dealing between the parties
    7   shows that while numbers of Routes vary somewhat seasonally, monthly Routes have remained between
    8   seven thousand (7,000) and thirty thousand five hundred (13,500) for the past three (3) years, with
    9   predictable seasonal variation.
  10               Under these circumstances, Amazon has a clear contractual duty to act with good faith and fair
  11    dealing in setting the discretionary number of Routes that it provides to the Debtors. Rekhter, 180
  12    Wash.2d at 112. It is not in dispute that a sudden decrease or elimination of Routes would be
  13    catastrophic to the Debtors’ business. The Debtors have a clear property interest in their rights under the
  14    Amazon Contracts, including those protected by the duty of good faith and fair dealing, which are
  15    protected by the automatic stay.
  16    C.         The Court Should Deny the Stay Relief Motion Because Amazon Has Not Proven That
  17               “Cause” Exists to Lift the Automatic Stay
                   As discussed above, the automatic stay protects the Debtors’ right to maintain the status quo, and
  18
        clearly does not allow Amazon to take unilateral action. Amazon therefore argues in the alternative that
  19
        it should be given relief from stay that would allow it to promptly eliminate the Debtors’ only present
  20
        source of revenue, and thereby bring the Debtors’ business to an immediate grinding halt, without
  21
        concern for the consequences to the Debtors, their creditors, or their over one thousand employees.
  22
        Under the circumstances, the relief sought by Amazon is antithetical to the chapter 11 process and does
  23
        not meet the standards required to lift the stay.
  24

  25               1.     Amazon Has Fallen Woefully Short Of Meeting Its Burden to Demonstrate “Cause”
                          Justifying Relief from the Automatic Stay
  26
                   Amazon seeks relief from the automatic stay pursuant to section 362(d)(1), which provides for
  27
        relief only for cause. 11 U.S.C. § 362(d)(1) (emphasis added). Section 362(d)(1) provides that:
  28
                          (d) On request of a party in interest and after notice and a hearing, the court shall
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    1                     grant relief from the stay provided under subsection (a) of this section, such as by
                          terminating, annulling, modifying, or conditioning such stay—
    2
                                  (1) for cause, including the lack of adequate protection of an interest in
    3                             property of such party in interest[.]
    4   11 U.S.C. § 362(d). Thus, relief from stay can be granted to Amazon only to the extent there is

    5   sufficient “cause” for such relief. Id.

    6              Cause can include a lack of adequate protection of an interest in property, but is otherwise

    7   undefined. Thus, "[w]hat constitutes 'cause' for granting relief from the automatic stay is decided on a

    8   case-by-case basis." Kronemyer v. Am. Contractors Indem. Co. (In re Kronemyer), 405 B.R. 915, 921

    9   (9th Cir. B.A.P. 2009); Christensen v. Tucson Estates, Inc. (In re Tucson Estates, Inc.), 912 F.2d 1162,

  10    1166 (9th Cir. 1990).

  11               There is a shifting burden with regard to cause, but it is in the first instance the burden of the

  12    moving party to show that there is some cause for which it should be granted relief. "To obtain relief

  13    from the automatic stay, the party seeking relief must first establish a prima facie case that 'cause' exists

  14    for relief under § 362(d)(1)." Plumberex, 311 B.R. at 557. Only once the moving party has established

  15    its primia facia case does the burden shift “to the debtor to show that relief from the stay is

  16    unwarranted." Id. "The decision whether to grant or deny stay relief is within the broad discretion of the

  17    bankruptcy court." Id. at 558; Kronemyer, 405 B.R. at 919. Further, “[i]f the movant fails to make an

  18    initial showing of cause,” then “the court should deny relief without requiring any showing from the

  19    debtor that it is entitled to continued protection.” Sonnax Indus., Inc. v. Tri Component Prods. Corp. (In

  20    re Sonnax Indus., Inc.), 907 F.2d 1280, 1285 (2d Cir. 1990).

  21               Based on the foregoing, Amazon has failed to demonstrate the requisite “cause” necessary for an

  22    award of relief from the automatic stay and accordingly the Stay Relief Motion must be denied.

  23                      a.      There is no “Cause” Based on a lack of Adequate Protection

  24               By and through the Stay Relief Motion, Amazon argues that there is sufficient “cause” to justify

  25    granting relief from the automatic stay based on a purported lack of adequate protection of its

  26    contractual right to terminate the Amazon Contracts on thirty (30) days written notice. However,

  27    Amazon provides absolutely no evidence – admissible or otherwise - to support its contention that its

  28    rights under the Amazon Contracts are not adequately protected. Moreover, Amazon also fails to

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    1   provide any legal authority that would support its position that it is entitled to any adequate protection of
    2   its right to termination, beyond the Debtors’ continued performance under the Amazon Contract, which
    3   is not in dispute. That is because there is no such law. Indeed, a finding that relief could be granted
    4   based on a lack of adequate protection of a termination provision would turn the purpose of the
    5   automatic stay on its head, because every contract counter-party with a contractual right to termination
    6   would be entitled to relief from stay. For this reason, courts have held that “cause” to lift the stay does
    7   not arise from a lack of adequate protection of a termination clause. See In re O-Jay Foods, Inc., 110
    8   B.R. 895, 897 (Bankr. D. Minn. 1989); In re Deppe, 110 B.R. 898, 907 (Bankr. D. Minn. 1990).
    9              Contrary to Amazon’s assertions, Amazon’s rights under the Amazon Contracts are clearly
  10    protected by the Debtors continued performance thereunder. Since the commencement of the Chapter
  11    11 Cases, the Debtors have continued to perform in an exemplary fashion – a fact which Amazon clearly
  12    does not dispute as it does not even allege that the Debtors have failed to perform any of their delivery
  13    obligations. Indeed, the admissible evidence demonstrates that Amazon has rewarded the Debtors’
  14    performance with extremely high marks, and acknowledges that it had no issues with the performance of
  15    the Debtors. To the extent that Amazon is entitled to adequate protection, the Debtors’ continued
  16    performance is more than sufficient. See In re Nat’l Hydro-Vac Indus. Serv., L.L.C., 262 B.R. 781, 787
  17    (Bankr. E.D. Ark. 2001).
  18               Moreover, and despite what Amazon would have this Court believe, it is far from clear that
  19    Amazon actually has an unfettered right to terminate the Amazon Contracts on just thirty (30) days’
  20    notice. The provision that allegedly gives Amazon this right expressly only applies to the Terms (as that
  21    term is defined in the Amazon Contracts), leaving the provisions of the current work order in place.
  22    Even if the Terms were cancelled, the current Work Order would remain in effect, and the duty of good
  23    faith and fair dealing would require Amazon to act consistent with that duty in winding up the
  24    contractual relationship.
  25                      b.      Amazon Has Not Shown Any Basis To Support A Finding of “Cause” And The
  26                              Balance of Harms Compels Denial of The Stay Relief Motion
                   Amazon’s entire argument for relief from stay is based on its asserted termination right, which
  27
        entirely misses the point of relief from stay. Amazon’s argument that an at-will termination clause is
  28
        itself cause for relief is absolutely unfounded. See In re Elder-Beerman Stores Corp., 195 B.R. 1012
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    1   (Bankr. S.D. Ohio 1996). “The conditions under § 362(d) govern relief from the stay, and when those
    2   conditions are not met, courts have not hesitated to leave the stay intact, even in the presence of ‘at will’
    3   termination clauses.” Id. Indeed, the entirely purpose of section 362 and 365 of the Bankruptcy Code, as
    4   applied to executory contracts, is to prevent non-debtors from exercising contractual termination rights.
    5   Thus, the non-debtor is not entitled to relief simply based on a contractual right to terminate. See
    6   Minoco Group of Cos., Ltd. v. First State Underwriters Agency of New England Reins. Corp. (In re
    7   Minoco Group of Cos., Ltd.), 799 F.2d 517, 519 (9th Cir.1986) (staying the right to cancel insurance
    8   policy under § 362).
    9              Indeed, Amazon acknowledges that in determining whether there is cause, the Court should
  10    apply a balance of hardships evaluation. The Stay Relief Motion correctly states that “when determining
  11    whether ‘cause’ exists for modifying the automatic stay, courts “may consider the consequences of the
  12    stay and the parties and the ‘balance of hurt’ in tailoring relief appropriate for the factual scenario.’”
  13    Stay Relief Motion, p. 6, quoting In re Tudor Motor Lodge Associates, LTD. Partnership, 102 B.R. 936
  14    (Bankr. N.J. 1989). It is stunning, and a remarkable showing of Amazon’s high-handed disregard for
  15    the effects of its actions on the Debtors, their employees, and their creditors, that Amazon thinks the
  16    “balance of hurt” somehow favors Amazon.
  17               It is well established that in determining whether to grant relief from stay, the Court should
  18    consider the balance of hardships. See, e.g., In re A Partners, LLC, 344 B.R. 114, 127 (Bankr. E.D. Cal.
  19    2006); In re Tudor Motor Lodge, 102 B.R. 936; In re Velo Holdings, Inc., 475 B.R. 367, 390 (Bankr.
  20    S.D.N.Y 2012). Indeed, even where the moving party makes a showing of cause, relief may be denied
  21    based on the “balance of the harms and equities.” In re Velo Holdings, 475 B.R. at 389; citing In re
  22    Lehman Bros. Holdings Inc., 435 B.R. 122, 138 (S.D.N.Y. 2010) and Sonnax, 907 F.2d at 1286. Thus,
  23    where termination would “significantly impede [the debtor’s] ability to restructure, if not eliminate the
  24    possibility of a successful restructuring entirely, while severely impairing creditor recoveries…,” it was
  25    appropriate to deny relief for cause. In re Velo Holdings, 475 B.R. at 390.
  26               The truth is that Amazon is not going to suffer harm if it does not receive authorization from this
  27    Court to terminate the Amazon Contracts, whether expressly or otherwise. On October 24, 2019,
  28    Amazon released financial results and stated that its operating cash flow increased 33% to $35.3 billion

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    1   for the 12 months ended September 30, 2019, on increased sales of goods and services of $193 billion
    2   during such period. Amazon is not suffering here.
    3              The only harms that Amazon has suggested it may suffer if relief from the automatic stay is not
    4   granted are (1) being barred from exercising its asserted contractual right to terminate by the automatic
    5   stay, and (2) pre-petition failures to defend and indemnify. Neither one of these is an actual, cognizable
    6   harm. As to the first, Amazon has failed to show any way in which it is being hurt by continuing to do
    7   business with the Debtors. As set forth in detail above, the Debtors’ performance continues to be
    8   exemplary, and Amazon has not suggested that it does not have an ongoing need for the delivery
    9   services that the Debtors provide, particularly with the impending holiday season. Indeed, Amazon has
  10    been completely unable and/or unwilling to articulate the actual reason that such a sudden and abrupt
  11    termination of the Amazon Contracts, as well as its relationship with the Debtors, is necessary.
  12               In stark contrast, it is undisputed that the granting of relief from the automatic stay in favor of
  13    Amazon would be catastrophic for the Debtors and their creditors, but absolutely devastating for the
  14    nearly thousand employees of the Debtors who are counting on the Amazon revenues to provide for
  15    their own families this holiday season. Given these facts, the “balance of harms” clearly requires a
  16    finding that there is no cause for relief. See In re Tudor Motor Lodge, 102 B.R. 936; In re Velo
  17    Holdings, 475 B.R. at 389.
  18

  19                                                  IV. CONCLUSION
  20               For the reasons set forth above, the Debtors respectfully request that this Court deny the relief
  21    sought by and through the Stay Relief Motion and award such other relief as this Court may deem just
  22    and proper.
  23
        DATED: November 4, 2019                             FOLEY & LARDNER LLP
  24

  25
                                                            /s/ Shane J. Moses
  26                                                        Shane J. Moses

  27                                                        Attorneys for Debtors and Debtors-in-Possession
                                                            SCOOBEEZ, SCOOBEEZ GLOBAL, INC., and
  28                                                        SCOOBUR, LLC

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                                                      PROOF OF SERVICE OF DOCUMENT

        I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
        Foley & Lardner LLP, 555 South Flower Street, Suite 3300, Los Angeles, CA 90072-2411


        A true and correct copy of the foregoing document entitled (specify):
        DEBTORS’ OPPOSITION TO AMAZON LOGISTICS, INC.’S NOTICE OF MOTION AND MOTION FOR AN
        ORDER: (A) DETERMINING THAT THE AUTOMATIC STAY DOES NOT REQUIRE AMAZON TO UTILIZE
        DEBTOR’S SERVICES, AND (B) MODIFYING THE AUTOMATIC STAY
        will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d);
        and (b) in the manner stated below:

        1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling
        General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the
        document. On (date) 11/4/19, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding
        and determined that the following persons are on the Electronic Mail Notice List to receive NEF transmission at
        the email addresses stated below:



                                                                                           Service information continued on attached page

        2. SERVED BY UNITED STATES MAIL:
        On (date) 11/4/19, I served the following persons and/or entities at the last known addresses in this bankruptcy
        case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States
        mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
        mailing to the judge will be completed no later than 24 hours after the document is filed.

        Honorable Julia W. Brand
        United States Bankruptcy Court
        Central District of California
        Edward R. Roybal Federal Building and Courthouse
        255 E. Temple Street, Suite 1382
        Los Angeles, CA 90012


                                                                                           Service information continued on attached page

        3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
        method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)               ,I
        served the following persons and/or entities by personal delivery, overnight mail service, or (for those who
        consented in writing to such service method), by facsimile transmission and/or email as follows. Listing the judge
        here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be completed no later
        than 24 hours after the document is filed.


                                                                                           Service information continued on attached page

        I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


           11/4/19                        Shane J. Moses                                           /s/ Shane J. Moses
           Date                           Printed Name                                             Signature



               This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


         June 2012                                                                                F 9013-3.1.PROOF.SERVICE
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        1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
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               This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


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